                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 4-20-cr-00189-DCN
                      Plaintiff,
                                                  REPORT AND
          v.                                      RECOMMENDATION

  JAMES COLTON GIANNELL,

                      Defendant.


       On October 4, 2021, Defendant James Colton Giannell appeared before the

undersigned United States Magistrate Judge to enter a change of plea pursuant to a

written plea agreement. (Dkt. 26.) The Defendant executed a waiver of the right to have

the presiding United States District Judge take his change of plea. Thereafter, the Court

explained to the Defendant the nature of the charges contained in the Indictment (Dkt. 5),

the maximum penalties applicable, his Constitutional rights, the impact that the

Sentencing Guidelines will have, and that the District Judge will not be bound by the

agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the change of plea hearing and having inquired of

the Defendant, counsel, and the government, finds there is a factual basis for the

Defendant’s guilty plea, that he entered it voluntarily and with full knowledge of the


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consequences, and that the plea should be accepted. The undersigned also ordered a pre-

sentence investigation to be conducted and a report prepared by the United States

Probation Office.



                                  RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

       1)     The District Court accept Defendant James Colton Giannell’s plea of guilty

to Count 1 of the Indictment (Dkt. 5),

       2)     The District Court order forfeiture consistent with Defendant James Colton

Giannell’s admission to the Criminal Forfeiture allegation in the Indictment (Dkt. 5) and

the Plea Agreement (Dkt. 26).

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.

DATED: October 4, 2021
                                                   ________________________________
                                                   CANDY WAGAHOFF DALE
                                                   U.S. MAGISTRATE JUDGE




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